Register of Actions
                CaseandNo.
                       Party1:24-cv-02622-NRN
                             Information      Document 16-1 https://www.jbits.courts.state.co.us/efiling/web/caseInformation/caseHis...
                                                               filed 10/08/24 USDC Colorado pg 1 of 1
                                                                                            EXHIBIT A
             Register of Actions
                         Filed by Plaintiff/                 Case Number: 2024CV030690                                                              Division: 5
                         Petitioner
                         Filed by Defendant/
                                                                Case Type: Breach of Contract                                              Judicial Officer: Nancy W. Salomone
                         Respondent
                         Filed by Court                      Case Caption: George Williams Lllp v. Roto Rooter                             Court Location: Boulder County
                                                                           Services Company


             Filing ID              Date Filed         Authorizer           Organization           Filing Party       Document                           Document Title                        Document Security

             N/A                    09/24/2024 12:00   N/A                  N/A                    N/A                Case Closed - Transferred          N/A
                                    AM

             A6F3F7565637A          09/23/2024 3:48    Heather Anderson     Hall and Evans LLC     Roto Rooter        Notice                             Notice of Filing of Notice of         Public
                                    PM                 Thomas, Walter                              Services Company                                      Removal
                                                       Andrew Figel




                                                                                                                      Exhibit - Attach to Pleading/Doc   Exhibit A - Notice of Removal         Protected

             E9A3B36147AC2          09/18/2024 12:43   Heather Anderson     Hall and Evans LLC     Roto Rooter        Answer and 3rd Party Complaint     Roto-Rooter Services Company's        Public
                                    PM                 Thomas, Walter                              Services Company   w/Jury Demand                      Answer to Complaint and Jury
                                                       Andrew Figel                                                   (Related Document)                 Demand and Third-Party
                                                                                                                                                         Complaint




                                                                                                                      Civil Case Cover Sheet             Civil Case Cover Sheet - 16.1         Public
                                                                                                                      (Related Document)                 Does Not Apply

             D9C5EECC25928          09/04/2024 1:33    Christopher Ryan     Podoll and Podoll PC   George Williams    Return of Service                  Affidavit of Service of Summons,      Public
                                    PM                 Corkadel                                    Lllp                                                  Complaint, and District Court Civil
                                                                                                                                                         Case Cover Sheet Upon
                                                                                                                                                         Corporation Service Company,
                                                                                                                                                         Registered Agent for Defendant
                                                                                                                                                         Roto Rooter Services Company
                                                                                                                                                         08/26/24

             680BA8DDE9A56          08/19/2024 3:29    Christopher Ryan     Podoll and Podoll PC   George Williams    Complaint w/Jury Demand            Complaint w/Jury Demand               Public
                                    PM                 Corkadel                                    Lllp               (Related Document)




                                                                                                                      Summons                            Summons                               Public

                                                                                                                      Civil Case Cover Sheet             Civil Case Cover Sheet - 16.1 Not     Public
                                                                                                                                                         Applicable




             Party Information
             Party Name                                                   Party Type                                     Party Status                             Attorney/Paraprofessional Name

             Denver Sewer And Water                                       3rd Party Defendant                            Active                                   N/A

             George Williams Lllp                                         Plaintiff                                      Active                                   CHRISTOPHER RYAN CORKADEL (Podoll and
                                                                                                                                                                  Podoll PC)
                                                                                                                                                                  ROBERT PODOLL (Podoll and Podoll PC)

             Roto Rooter Services Company                                 Defendant                                      Active                                   HEATHER ANDERSON THOMAS (Hall and Evans
                                                                                                                                                                  LLC)
                                                                                                                                                                  WALTER ANDREW FIGEL (Hall and Evans LLC)




1 of 1                                                                                                                                                                                                     10/8/2024, 3:06 PM
